        Case 9:23-cr-80219-AMC Document 163 Entered on FLSD Docket 05/12/2025 Page 1 of 2


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Case 9:23-cr-80219-AMC Document 163 Entered on FLSD Docket 05/12/2025 Page 2 of 2




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